                  Case 3:24-cr-01808-DCG Document 1 Filed 07/22/24 Page 1 of 2
                                                                                                        FILED
                                                                                                      July 22, 2024
                                                                                                 CLERK, US. DISTRICT COURT
                                                                                                 WESTERN DISTRICT OF TEXAS
 A091 (Rev. 01/09) Criminal Complaint
                                                                                            BY                    APV
                                      UNITED STATES DISTRICT COURT
                                                           for the
                                                   Western District of Texas

                   United States of America                   )
                                 V.
                                                              )
                                                              )      Case No: EP: 24-M-3 137-MAT
                Omar Uriel MONR.ROY-Diaz
                                                              )

                                                              )
                            Defendant(s)

                                                 CRIMINAL COMPLAINT
         1, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or about
 the date of July 8. 2024. in the county of El Paso in the Western District of          Texas , the defendant violated
  U.S.C. § 1326 , an offense described as follows:


an alien, who had been excluded, deported and removed from the United States and who has not received the consent to
reapply for admission from the Attorney General of the United States or the Secretary of Homeland Security, the
successor, pursuant to Title 6, United States Code, Section 202(3), 202(4), and 557, did enter, attempt to enter, or was
found in the United States.




          This criminal complaint is based on these facts:

On July 8, 2024, the defendant, Omar Uriel MONRROY-Diaz, was found to be in the United States on the 100 block of
Holguin in Vinton, Texas, within the Western District of Texas. Department of Homeland Security records determined
that the Defendant is a citizen and national of Mexico, thereby, an alien to the United States. The Defendant's
immigration records revealed that he was removed from the United States to Mexico on August 15, 2020 through El Paso,
Texas. There is no evidence that the Defendant received expressed consent from the Secretary of Homeland Security or
the U.S. Attorney General to reapply for admission into the United States.


              Continued on the attached sheet.



                                                                                        Complainant    ignaI

                                                                                 Erika Gutierrez Deportation Officer
                   telephonically                                                        Printed name and title
Sworn to before me and signed in my presence.


Date:   July 22, 2024 at 12:00 p.m.
                                                                      $h;' óT?T            Judge's signature
City and state: El Paso, Texas                                                 Miguel A. Torres U.S. Magistrate Judge
                                                                                         Printed name and title
 Case 3:24-cr-01808-DCG Document 1 Filed 07/22/24 Page 2 of 2




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                              WESTERN DISTEICT OF TEXAS
linked States of America

V.

Omar Uric) MONRROY-Dinz
